                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
               v.                            )              No. 12-3106-03-CR-S-DGK
                                             )
LOLA HALL,                                   )
                                             )
                       Defendant.            )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Lola Hall, by consent, appeared before the undersigned on November 20,
2013, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j),
and 28 U.S.C. § 636, and has entered a plea of guilty to a superseding information filed on
November 20, 2013. After cautioning and examining Defendant, under oath, in accordance with
the requirements of Rule 11, it was determined that the guilty plea was made with full
knowledge of the charge and the consequences of pleading guilty, was voluntary, and that the
offense to which Defendant has plead guilty is supported by a factual basis for each of the
essential elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Lola Hall be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 21st day of November, 2013, at Jefferson City, Missouri.



                                             /s/   Matt J. Whitworth
                                             MATT J. WHITWORTH
                                             United States Magistrate Judge




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